     Case 4:13-cv-01828      Document 16      Filed on 05/03/13 in TXSD           Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 (Alexandria Division)

XENON HEALTH LLC, et al.,                      |
                                               |
       Plaintiffs,                             |
                                               |
v.                                             |          Case No. 1:13-cv-244
                                               |          LO/TCB
MIRZA BAIG,                                    |
                                               |
       Defendant.                              |

 DEFENDANT’S MOTION TO TRANSFER VENUE OR, IN THE ALTERNATIVE, TO
     DISMISS AMENDED COMPLAINT FOR FAILURE TO STATE A CLAIM

       Defendant Mirza Baig, by counsel and pursuant to 28 U.S.C. § 1404(a) and Fed. R. Civ. P.

12(b)(6), files this Motion to Transfer Venue or, in the Alternative, to Dismiss Amended

Complaint for Failure to State a Claim. The reasons supporting this Motion are set forth in the

contemporaneously filed Memorandum in Support of Motion to Transfer Venue or, in the

Alternative, to Dismiss Amended Complaint for Failure to State a Claim.



DATED: May 3, 2013                                    Respectfully submitted,

                                                      MIRZA BAIG
                                                      By Counsel


                                                           /s/
                                                      John Patrick Sherry, Esq.
                                                      VSB No. 48768
                                                      JPS Law PLLC
                                                      10513 Judicial Drive
                                                      Suite 204
                                                      Fairfax, Virginia 22030
                                                      T: 703.385.4561
                                                      F: 703.890.1596
                                                      jpsherry@jpslaw.com


                                              1
    Case 4:13-cv-01828         Document 16        Filed on 05/03/13 in TXSD          Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of May 2013, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send a notification of such filing to the
following registered ECF user:

Kevin F.X. DeTurris, Esq.
The Law Offices of Kevin F.X. DeTurris, LLC
43948 Riverpoint Drive
Leesburg, Virginia 20176
T: 571.252.8081
F: 571.252.8087
kdeturris@deturrislaw.com
Counsel for Plaintiffs


                                                              /s/
                                                         John Patrick Sherry, Esq.
                                                         VSB No. 48768
                                                         JPS Law PLLC
                                                         10513 Judicial Drive
                                                         Suite 204
                                                         Fairfax, Virginia 22030
                                                         T: 703.385.4561
                                                         F: 703.890.1596
                                                         jpsherry@jpslaw.com




                                                  2
